09-50026-mg        Doc 10895         Filed 09/19/11 Entered 09/19/11 16:24:18        Main Document
                                                Pg 1 of 20



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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DIVISION OF NEW YORK
 ---------------------------------------------------------------x
                                                                :
 In re                                                          :   Chapter 11 Case No.
                                                                :
 MOTORS LIQUIDATION COMPANY, et al.,                            :   09-50026 (REG)
                   f/k/a General Motors Corp., et al.           :   Honorable Robert E. Gerber
                                                                :
                                          Debtors.              :   (Jointly Administered)
                                                                :
 ---------------------------------------------------------------x

                             RESPONSE OF T. CHARLES POWELL TO
                             235TH OMNIBUS OBJECTION TO CLAIMS

                                  (The Objection is at Docket No. 10720)
09-50026-mg           Doc 10895           Filed 09/19/11 Entered 09/19/11 16:24:18                              Main Document
                                                     Pg 2 of 20




                                                 TABLE OF CONTENTS

 Title                                                                                                                         Page

 INDEX OF PRINCIPAL AUTHORITIES..................................................................................... ii

 RELIEF REQUESTED ...................................................................................................................4

 JURISDICTION ……….. ..............................................................................................................4

 BACKGROUND ......................................................…………………………………………….5

 DISCUSSION ……………….. .....................................................................................................10
09-50026-mg    Doc 10895    Filed 09/19/11 Entered 09/19/11 16:24:18       Main Document
                                       Pg 3 of 20



                        INDEX OF PRINCIPLE AUTHORITIES
                                                                                  Page(s)
                                          Cases

 Am. Fed’n of Grain Millers, AFL-CIO v Int’l Multifoods Corp.
 116 F. 3d 976, 980 (2d Cir. 1997)………………………………………………………………..7

 Aramony v. United Way Replacement Benefit Plan, 191 F.3d 140, 151 (2d Cir.1999)…………..8

 Cecil v AAA Mid-Atlantic, Inc. 118 F. Supp. 2d. 659, 664-65 (D. Md. 2000)…………………..10

 Cvelbar v CBI Illinois, Inc. 106 F. 3d 1368, 1378-79 (7th Cir, 1997)……………………………10

 Combs v Kentucky Wesleyan College, 42 Employee Benefits Cas. 232, 2008 WL 145253
 (W. D. Ky. 2008 )…………………………………………………………………………………9

 Devlin v. Transp. Comms. Int'l Union, 173 F.3d 94, 102 (2d Cir.1999)……………….1, 6, 7, 8, 9

 Farmland Industries Inc., 294 B.R. 903 (Bankr.WD.MO.2003)………………………………..12

 IUE-CWA v. Visteon Corp. (In re Visteon Corp.), 612 F.3d 210 (3d cir. 2010)………………...12

 Minis v Baldwin Bros. Inc. 150 Fed. Appx. 118, 120 (3d Cir. 2005)……………………………10

 Schonholz v Long Island Jewish Medical Center, 87 F. 3d 72, 79-80 (2d Cir. 1996)……………8

 Sprague v. Gen. Motors Corp., 133 F.3d 929 (5th Cir. 1993)……………………………..9, 10, 11




                                           -ii-
09-50026-mg      Doc 10895     Filed 09/19/11 Entered 09/19/11 16:24:18          Main Document
                                          Pg 4 of 20



 TO THE HONORABLE ROBERT E. GERBER
 UNITED STATES BANKRUPTCY JUDGE:

        Mr. T. Charles Powell (“Powell”), a retired, former employee of Debtor General Motors

 Corp., n/k/a Motors Liquidation Company (the “Company” or “Debtor”), by and through his

 attorneys, seeks allowance of his claim, as discussed below.

                          OVERVIEW AND RELIEF REQUESTED

        1.      Mr. Powell requests that this Court deny Company’s 235th Omnibus Objection

 (the “Objection”) to Powell’s claim no. 51364 (the “Claim”) for the reasons discussed in this

 response.   Essentially, the Debtor has made erroneous arguments of fact and erroneous

 arguments of law.

                a.     The Debtor has made erroneous arguments of fact by improperly quoting

                documents relating to welfare benefits, which were written long after the

                retirement of Powell.    A review of the applicable documents, from prior to

                Powell’s retirement in 1991, make it clear that GM did promise the welfare

                benefits comprising Powell’s Claim, that those benefits vested, and the benefits

                otherwise cannot be modified by Debtor.

                b.     The Debtor improperly relies upon law outside the Second Circuit, which

                directly contradicts applicable law in this Circuit. See Devlin v. Transp. Comms.

                Int'l Union, 173 F.3d 94, 102 (2d Cir.1999), fully supporting Powell’s Claim, and

                which is inconsistent with Sixth Circuit law cited by Debtor and the Motors

                Liquidation Company GUC Trust (the “GUC Trust”).

                                        JURISDICTION

        2.      The Court has jurisdiction over the matters raised in this motion pursuant to 28

 U.S.C. §§ 157 and 1334This motion is a core proceeding pursuant to 28 U.S.C. § 157(b).
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18             Main Document
                                           Pg 5 of 20



                                   FACTUAL BACKGROUND

          3.    Powell’s employment with the Company began on approximately October 1,

 1956.

          4.    Prior to approximately 1971, Powell obtained coverage under the Company’s

 basic life insurance plan, obtained retirement benefits (including vested retirement benefits) and

 obtained coverage under the Debtor’s basic life insurance plan. (See Powell affidavit, at Exhibit

 B 1 .)

          5.    Prior to approximately January 1, 1989, the Debtor established a supplemental life

 benefits program.

                                        Powell’s Retirement

          6.    Powell began discussing his 1991 retirement with people at General Motors in

 early 1991. There were a number of benefits that were available for retirees at that time,

 including the continuation of basic life insurance, but also a supplemental life benefit.

          7.    Officials of the Debtor repeatedly promised and represented to Powell that the

 combined benefits under these two programs would not fall below $300,000.00. At the time,

 Powell determined that this sum would allow him to retire and not require him to keep working.

 This combined benefit of basic life insurance and a supplemental life benefit totaling at least

 $300,000 was a critical and necessary factor in Powell making the determination that he would

 proceed to retire, and he would not have retired without it. Therefore, Powell relied on the

 promises and representations of Company, verbally and in writing, including official summaries

 of the welfare benefits and retirement plans.




 1
  Please note that Exhibit A is a proposed order denying the relief requested in the Objection
 with respect to claims by Powell.
09-50026-mg      Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18              Main Document
                                            Pg 6 of 20



        8.      The people with whom Powell discussed his retirement, and who made

 representations on behalf of General Motors, include my immediate supervisor, Mr. W. R.

 Herron, a Company representative named Joseph Zuzula (I am not sure of the spelling) and a Mr.

 Reinbold. Other people who made promises and representations on behalf of the Debtor include

 the personnel director at the time and the salaried personnel director at the time.

        9.      Effective as of approximately September 1, 1991, Powell retired from the Debtor.

        10.     In connection with his retirement, Powell was provided with Basic Life Insurance

 and was provided with benefits under the Supplemental Life Benefits Program, among other

 welfare benefits.

        11.     Specifically, these welfare benefits include basic life insurance and supplemental

 life benefits totaling the following:

                     (a) Basic Life Insurance:        $79,800
                     (b) Supplemental Life
                            Benefits Program:         $228,000
                                     Subtotal:        $307,800



        12.     Powell was provided with documentation summarizing these and other benefits at

 the time of his retirement, specifically providing that the basic life insurance would continue

 under a formula that would guarantee a minimum coverage amount of $79,800.00, and the

 Debtor promised to cover the full cost of the policy for the rest of Powell’s life. This summary

 document at Exhibit C states, in part, as follows:

                Basic Group Life Insurance
                Continuing paid up Life Insurance is provided for employees who retire:
                       1. Early voluntary - 85 points
                       2. Early voluntary - 30 years
                       3. Special
                       4. Normal
                       5. Total and permanent
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18             Main Document
                                           Pg 7 of 20




                Once retired, the amount will decrease by 2% the first month and a like
                amount each subsequent month until the amount equals (1.5% times
                original amount of times years of participation). (Note: T&P begins
                reducing at age 65.) G.M. [the Debtor] pays the full cost of this policy.

                        Base (6333.32) X 24 = Current Amount . . $152,000.00     (A)
                        Credited service X 1.5% = Reduction Rate $ .525          (B)
                        Fully Reduced Amount (Est.) (A x B) . . . $ 79,800.00_______
                        Beneficiary Wife - Barbara_____________________________


 See written statement and summary of welfare benefits provided to Powell prior to his

 retirement, at Exhibit C.

        13.     Moreover, the summary of benefits provided to Mr. Powell at retirement provided

 as follows:

                Supplemental Life Benefits Program:         Amount: $228,000.00
                                                            Beneficiary: Wife - Barbara

                        (Effective January 1, 1989 for Certain Executives Who, on January
                        1, 1984, Were Under Age 55 and Not Retired)

                Under the General Motors Retirement Program for Salaried Employees
                with ten or more years of credited service and with unreduced retirement
                benefits, your supplemental life benefits coverage in effect at the end
                of the month immediately preceding your retirement effective date
                will be continued at GM expense during your retirement while your
                basic life insurance remains in force, as follows:

                        Part I - Amount in effect at retirement continued in full,

                                                        plus

                        Part II - Two times your final annual base salary, in excess of
                        $200,000, reduced by 2% per month until it reaches an amount
                        equal to 1 ½% times the amount of coverage in effect at age 65, or
                        at the end of the month immediately preceding your retirement if
                        earlier, multiplied by your years of participation under the Life and
                        Disability Benefits Program…
09-50026-mg         Doc 10895    Filed 09/19/11 Entered 09/19/11 16:24:18          Main Document
                                            Pg 8 of 20



 See Exhibit C.       Thus, the supplemental life benefits program was promised to be

 continued at GM expense during Powell’s retirement while the basic life insurance

 remained in force. Of course, not only is Powell’s basic life insurance still in force

 (albeit at an improperly reduced amount), but additionally the basic life insurance was

 promised to remain in effect for the rest of his life.


         14.      Mr. Powell was also provided with an additional written summary of the

 supplemental life benefit providing as follows:

                  SUPPMENTAL LIFE BENEFIT . . .active executives born after 1-1-29
                  and placed as an executive prior to 1-1-89 have a death benefit equal to 3
                  times their annual base salary PLUS additional death benefit to cover the
                  amount of basic over $200,000.

                  In retirement, the portion of the supplemental death benefit equal to 3
                  times annual base continues for life at corporation expense. The
                  portion covering the basic over $200,000 reduces in the same way basic
                  reduces (1.5% times original amount times years or Part A credited
                  Service).

 See Exhibit D.

         15.      Moreover, subsequent to his retirement, on approximately August 2, 1993, the

 Debtor reconfirmed its promise that Mr. Powell’s basic life insurance, although then reduced to

 the minimum amount of $79,800.00, would remain in effect for the rest of his life, provided by

 General Motors, at no cost to Powell. The August 2, 1993 confirmation from Company stated in

 part as follows:

                  Our insurance records, as of the date of this letter, show the Continuing
                  Life insurance has now fully reduced to the ultimate amount of
                  $79,800.00. This ultimate amount will remain in effect for the rest of
                  your life and is provided by General Motors at no cost to you.
09-50026-mg       Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18           Main Document
                                            Pg 9 of 20



 See the Debtor’s August 2, 1993 letter to Mr. Powell, reconfirming previous promises

 and representations that the basic life insurance would continue to be paid by the Debtor

 for the rest of his life at the Debtor’s expense. See Exhibit D.

        16.       Moreover, at retirement, GM provided a personal umbrella liability insurance in

 the amount of $5 million dollars providing as follows:

                  Duration of Insurance Coverage [concerning personal umbrella]

                  The insurance coverage will remain in effect for an eligible employee and
                  his/her eligible family members as long as he/she is an eligible employee
                  or retiree, unless he/she elects to cancel the insurance.

 See Exhibit C.

        17.       Thus, Company had made it perfectly clear, and had committed to provide all of

 these welfare benefits, discussed above, outlined in Mr. Powell’s Claim, post retirement, for the

 duration of his life, without any right whatsoever to modify those welfare benefits.

        18.       Additionally, the Debtor made numerous verbal representations, promises, and

 commitments to Mr. Powell to provide benefits outlined in Powell’s Claim for the rest of his life.

                   Company’s Bankruptcy and Improper Reduction of Benefits

        19.       On approximately June 1, 2009 the Debtor filed a voluntary bankruptcy petition.

        20.       Subsequent to filing the bankruptcy petition, in mid to late June of 2009, the

 Debtor announced that it was cancelling the Supplemental Life Benefits Program, after an earlier

 -- and also improper -- reduction in the benefits amount, within 180 days prior to the petition

 date. The Debtor also announced that it was reducing the Basic Life Insurance to $10,000.

        21.       Thus, Powell’s life benefits were ultimately reduced from $307,800 to $10,000,

 and the Debtor improperly terminated the umbrella insurance policy and otherwise improperly

 reduced and terminated Powell’s welfare benefits.
09-50026-mg      Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18             Main Document
                                           Pg 10 of 20



                                           DISCUSSION

                                 Legal Basis for Allowance of Claim

        22.     The Debtor and the GUC Trust have failed to cite applicable Second Circuit law

 properly governing on the issues of this case. See Devlin v. Transp. Comms. Int'l Union, 173

 F.3d 94, 102 (2d Cir.1999).

        23.     In Devlin, the Second Circuit considered the issue of when a former employer, in

 that case Empire Blue Cross and Blue Shield (“Empire”) significantly lowered the amount of life

 insurance provided to retirees. The district court initially granted summary judgment in favor of

 the employer, but was reversed by the Second Circuit Court of Appeals.

        24.     In Devlin, the employer had offered certain early retirement programs. Id. at 80.

 The Second Circuit held that even if the employer had properly reserved the right to modify its

 life insurance plan, if the employer had promised, or vested, certain benefits then those benefits

 would be enforced. Id. at 82.

        25.     Moreover, the Devlin court held that a retiree could enforce promises and

 representations that certain benefits would remain in place (or had vested). Id. at 83. Rather, “it

 is enough [to] point to written language capable of reasonably being interpreted as creating a

 promise on the part of [the employer] to vest [the recipient’s] . . . benefits.’ ” Id. at 83 (emphasis

 original) quoting Am. Fed’n of Grain Millers, AFL-CIO v Int’l Multifoods Corp. 116 F. 3d 976,

 980 (2d Cir. 1997).

        26.     The Devlin court found that language in a pre-retirement description of benefits

 stating that retired employees, after completion of 20 years of full-time permanent service and

 attaining 55 years of age, “will be insured” was a statement which could be reasonably read as

 promising such insurance so long as employees retire after age 55 and have provided full-time
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18            Main Document
                                          Pg 11 of 20



 permanent service to Empire for at least 20 years. Id. at 84. The Court found that this provision

 could be construed as an offer that specified performance as a means of acceptance, which the

 employees thereby accepted by working for 20 years until attaining the age of 55. Id. at 84.

         27.    The Devlin Court then found that Empire could not rely upon documentation

 drafted and/or issued after the retirement of the employee, subsequently containing reservations

 of a right to modify insurance benefits for the first time, since such documentation was after-the-

 fact changes which did not effect the retiree’s prior performance and agreement. In short, the

 employer was not free to revoke. Id. at 84-85.

         28.    The Court further found that the statement in the documentation pre-dating the

 retirement, that life insurance benefits “will remain at [the annual salary level] for the remainder

 of their lives …” supported the retiree’s claim that the employer had promised to vest retiree life

 insurance benefits at the stated level.” Id. at 85 (emphasis original). The Court found that

 statement in the documentation pre-dating the retirement was capable of reasonably being

 interpreted as creating a promise to vest lifetime life insurance benefits in those employees

 eligible for retirement. Id.

                  Powell is also entitled to enforce his Claim through estoppel

         29.    The Devlin court also held that principles of estoppel can apply in ERISA cases.

 Id. at 85.

         30.    In order to prevail on a claim of promissory estoppel under ERISA a retiree must

 establish:

                “ ‘(1) a promise, (2) reliance on the promise, (3) injury caused by the
                reliance, and (4) an injustice if the promise is not enforced.’ ” Aramony v.
                United Way Replacement Benefit Plan, 191 F.3d 140, 151 (2d Cir.1999)
                (quoting Schonholz, 87 F.3d at 79). Additionally, “an ERISA plaintiff
                must ‘adduce [ ] not only facts sufficient to support the four basic
                elements of promissory estoppel, but facts sufficient to [satisfy an]
09-50026-mg      Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18             Main Document
                                           Pg 12 of 20



                ‘extraordinary circumstances' requirement as well.’ ” *86 Aramony, 191
                F.3d at 151 (quoting Devlin v. Transp. Comms. Int'l Union, 173 F.3d 94,
                102 (2d Cir.1999)). Schonholz provides an example of such extraordinary
                circumstances, where the employer used promised severance benefits to
                induce the plaintiff to retire. Schonholz, 87 F.3d at 79-80.

                Id. at 85 -86.

        31.     The Second Circuit Court of Appeals recognized that these extraordinary

 circumstances may be present where the employer used promised severance benefits to induce an

 employee to retire. Id. at 86, citing Schonholz v Long Island Jewish Medical Center, 87 F. 3d

 72, 79-80 (2d Cir. 1996).

        32.     The Devlin Court noted, “Plaintiffs also contend that they were induced by

 Empire to work for over twenty and up to forty years in order to receive (inter alia) a particular

 level of life insurance coverage, and that Empire acted with the intent to induce by ‘distributing

 literature guaranteeing “lifetime” benefits . . . at “no cost” ’ ” Id. at 86. The Court noted that the

 employees of Empire did more than merely accept employment at Empire in exchange for the

 benefits but instead dedicated their working lives to Empire. Id.

        33.     In the instant case, Powell has set forth that he was induced to, and decided to,

 retire based upon the representations and promises of the Debtor, that the basic life insurance and

 supplemental life benefits would remain in place and, for example, “will be continued at GM

 [Debtor] expense during your retirement while your basis life insurance remains in force.” See

 Exhibit C.

                             Powell’s Claims Can Be Enforced Through
                                 Fiduciary Duty Principle as Well

        34.     The Second Circuit in Devlin held that the plaintiffs in that case could have a

 claim for breach of fiduciary duty under ERISA. Id. at 87-88. The Court determined, “Empire

 may still have violated any fiduciary duties in its retiree letters and other communications which
09-50026-mg      Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18          Main Document
                                           Pg 13 of 20



 promised lifetime benefits but failed to note that Empire could reduce or terminate those benefits

 at any time.” Id. at 88. Further, “ ‘when a plan administrator affirmatively misrepresents the

 terms of a plan or fails to provide information when it knows that its failure to do so might cause

 harm, the plan administrator had breached its fiduciary duty to individual plan participants and

 beneficiaries.’ ” Id. at 88 (citations omitted).

        35.     Thus, under Devlin, Powell has recognizable and enforceable claims for the

 benefits, including life welfare benefits that he was promised by GM.

        36.     A number of courts have followed and applied the decision in Devlin v. Empire

 Blue Cross and Blue Shield. In Karl v. ASARCO Inc., 204 WL 2997872 (S.D. N.Y. 2004) the

 plaintiff had been the former Director of Labor Relations for the defendant. Id. at *1. Prior to

 his retirement he received a letter outlining his status as a retiree under various benefit plans,

 explaining his benefits under the plan.       The letter further stated that life insurance would

 continue in effect without any premium costs to him as long as the Company’s contract with the

 insurance company remained in effect. Id. The company then amended the Plan to provide a

 maximum of $10,000.00 in life insurance coverage for salaried retirees. In that case, the Court

 relying in large part upon Devlin, denied Defendants’ Motion for Summary Judgment with

 respect to Plaintiff’s claims for equitable estoppel, promissory estoppel and breach of fiduciary

 duty. The Court found it significant that the Plaintiff attested that he relied upon the statements

 by the Defendant regarding his entitlement to life insurance including that he did not purchase

 additional life insurance and that to purchase replacement coverage at his advanced age and

 adverse health would be prohibitively costly. Id. at *7-8.
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18           Main Document
                                          Pg 14 of 20



        37.     Instead of discussing Devlin, counsel for the GUC Trust has discussed an

 applicable law outside of the Second Circuit, including Sprague v. Gen. Motors Corp., 133 F.3d

 929 (5th Cir. 1993).

        38.     The Debtor and the GUC Trust have not explained why they have cited

 contradictory law from the Sixth Circuit, when the proper application of law requires

 contradictory law from the Second Circuit.

        39.     Bankruptcy Courts in the Southern District of New York have recognized that

 they are obligated to follow the decisions of the Second Circuit, as opposed to decisions of the

 Sixth Circuit. In the case of In Re Brown, 2007 WL 2120380 (Bkrtcy. N.D. N. Y. 2007) the

 Bankruptcy Court was called upon to determine an issue regarding objections to exemptions. Id.

 at *1. The Bankruptcy Court acknowledged that its conclusion regarding the exemption was

 contrary to the holding of the United States Bankruptcy Court for the Western District of

 Michigan in the Wallace decision. Id. at *12, discussing In Re Wallace, 347 B.R. 626 (Bkrtcy

 W.D. Mich. 2006). However, the Court in Brown stated, “The United States Bankruptcy Court

 for the Western District of Michigan which rendered the decision in Wallace is located in the

 Sixth Circuit. Accordingly, it is bound by decisions rendered by the circuit where it sits, just as

 this Court is bound by decisions of the Court of Appeals for the Second Circuit. See In Re

 Montgomery County, Maryland v. Metro Media Fiber Network, Inc., 326 B.R. 483, 489 (S.D.

 N.Y 2005)” Id. at *13.

        40.     The United States District Court also recognized that it was required to apply

 Second Circuit decisions in the case of Montgomery County, Maryland v. Metro Media Fiber

 Network, Inc., 326 B.R. 483, 489 (S.D. N.Y 2005). In that case, the District Court recognized

 that the dispute in the case involved application and interpretation of the Federal
09-50026-mg      Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18          Main Document
                                           Pg 15 of 20



 Telecommunications Act. Id. at 489. The Court stated, “A federal bankruptcy court, like the

 federal district court, is bound to apply federal laws as they’ve been interpreted by the Court of

 Appeals in the circuit where it sits.” Id. at 489, citing Ithaca College v. NLRB, 623 F. 2d 224,

 228 (2d Cir. 1980). The Court went onto state, “By contrast, the decisions issued by other

 circuits on federal questions are not binding in this circuit.” Id. citing Newsweek, Inc. v. U.S.

 Postal Service, 663 F. 2d 1186, 1196 (2d Cir. 1981). The Court further stated, “In fact, this court

 has recognized that ‘federal courts are competent to decide issues of federal law and should not

 be placed in the awkward position of having to apply the federal law of another circuit when it

 conflicts with their own circuit’s interpretation.’” Id. (citations omitted). 2

        41.     Courts outside of the Sixth Circuit have disagreed with and declined to apply

 Sprague v. General Motors Corp., 133 F.3d 388 (6th Cir. 1998). In the case of McMunn v. Pirelli

 Tire, LLC, 161 F. Supp. 2d 97 (D. Conn. 2001) the Court noted that the defendant employer

 relied upon Sprague in support of its motion of summary judgment and its arguments that

 Plaintiffs could not rely upon any representations where the employer reserved the right to

 amend its plan. Id. at 134. The Court, in rejecting defendant’s argument and reliance on

 Sprague stated, “as discussed in greater detail below there is unrebutted evidence in the record

 here supporting plaintiffs’ contention that Armstrong, and then Pirelli, consistently and

 deliberately fostered the belief that benefits would be lifetime benefits through the use of the




 2
   Although the Montgomery County decision was vacated and remanded by joint motion of the
 parties, No. 05-4123-bk (2d Cir. Aug. 31, 2006) the decision has nonetheless been cited
 favorably by a number of courts including A Slice of Pie Productions, LLC v. Wayans Bros.
 Entertainment, 487 F.Supp.2d 33, 40 (D.Conn. May 30, 2007); Webb Candy, Inc. v. Walmart
 Stores, Inc., 2010 WL 2301461, *9 (D.Minn. Jun 07, 2010); Qwest Communications Corp. v.
 City of New York, 387 F.Supp.2d 191, 194 (E.D.N.Y. Sep 15, 2005); In Re Brown, 2007 WL
 2120380, *13, 58 Collier Bankr.Cas.2d 519, 519 (Bankr.N.D.N.Y. Jul 23, 2007); In Re ASARCO
 LLC, 2009 WL 8176641, *24 (Bankr.S.D.Tex.June 05, 2009).
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18            Main Document
                                          Pg 16 of 20



 1976 PPD and verbal communications.” Id. at 12. The Court then determined that the plaintiffs

 could proceed on their claims for breach of fiduciary duty and estoppel.

        42.     The court in Bobban v. The Bank Julius Baer Postretirement Health and Life

 Insurance Program, 723 F.Supp.2d 560 (S.D.N.Y. 2010) also applied Devlin to deny the

 defendant’s motion to dismiss. The court found that representations in separation agreements

 relating to the payment of health insurance and life insurance coverage could support claims for

 a failure to pay benefits and a claim for promissory estoppel and denied a motion to dismiss

 under Rule 12(b)(6).

        43.     However, not only has Sprague been criticized outside of the Sixth Circuit, it has

 also been criticized and distinguished within the Sixth Circuit.

        44.     Indeed, a number of more recent court decisions have recognized distinctions or

 exceptions to Sprague. In Combs v Kentucky Wesleyan College, 42 Employee Benefits Cas. 232,

 2008 WL 145253 (W. D. Ky. 2008 ) the Court found that the Plaintiffs could maintain claims

 that the Defendant Kentucky Wesleyan College (KWC) could not terminate health insurance

 coverage when it had promised continuing health insurance coverage to certain retirees. First,

 the Combs Court determined that the early retirement agreements that the employees entered into

 constituted plans documents under ERISA. Id. at *8. 3 The Court held these early retirement

 agreements were sufficiently specific to constitute an ERISA Plan. Id. at *8 citing Minis v

 Baldwin Bros. Inc. 150 Fed. Appx. 118, 120 (3d Cir. 2005); Cvelbar v CBI Illinois, Inc. 106 F.




 3
   The Court found that the Early Retirement Contracts specified the intended benefits, i.e.
 medical coverage up to age 65 for the retiree, spouse and dependent children with Medicare
 supplement coverage thereafter; and also specified a source of financing, which was intended to
 be the College and provided a procedure for receiving the benefits which was sufficiently
 ascertainable, i.e. that after retirement the Plaintiff retirees were to receive medical coverage up
 to the age of 65 and a Medicare supplement thereafter. Id. at *8
09-50026-mg       Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18           Main Document
                                           Pg 17 of 20



 3d 1368, 1378-79 (7th Cir, 1997), Cecil v AAA Mid-Atlantic, Inc. 118 F. Supp. 2d. 659, 664-65

 (D. Md. 2000).

        45.     Alternatively, the Combs Court found that if the retirement contracts were not

 free-standing ERISA Plans, the Court determined that they were amendments to the Plans in

 effect at the time the Plaintiffs retired. Id. at *9. The Court found this based upon the principal

 cited in Sprague that, “employers are generally free under ERISA, for any reason at anytime, to

 adopt, modify or terminate welfare plans.” Id. at *9 citing Sprague, 133 F. 3d at 400. The Court

 found that although the Health Care Plans in question provided that the employer had the right to

 amend the Plans the Court found, “in the present case, all the retirement contracts are

 independent contracts, contain the signatures of an authorized officer of KWC, clearly changed

 the duration of benefits for the contracting Plaintiff, and at the very least, constitute an

 amendment to the Employee Health Care Plan.” Id. at *9. The Defendants attempted to claim

 that the “reservation of rights” clause in the Summary Plan Documents defeated the Plaintiff’s

 claims. The Court found, “the execution of the early retirement contracts ‘vested’ continued

 medical coverage and Medicare supplements in the retirees despite what right KWC may have

 had to terminate retiree coverage contained in the original Plan. Id.      Otherwise, there would

 have been no reason to separately negotiate an early retirement contract.” Id. (citations omitted).

        46.     Alternatively, the Court concluded that even if the retirements agreements were

 not ERISA Plans or amendments to the original plan the Court would nonetheless enforce the

 early retirement agreements as a matter of federal common law. Id. at *10. The Court held,

 ‘where an employer bargains away its right to modify an ERISA Welfare Plan, the terms of that

 modification, though governed by ERISA, are to be enforced pursuant to the federal law of

 contract’” Id. at *9 (citations omitted).
09-50026-mg       Doc 10895       Filed 09/19/11 Entered 09/19/11 16:24:18           Main Document
                                            Pg 18 of 20



         47.     The Combs Court discussed Sprague, but determined that Sprague was

 distinguishable based on the fact that the employees in Combs had more individualized,

 negotiated agreements. The Court in Combs also found that the retirement agreements were

 supported by separate consideration and granted the individual retirees benefits that were in

 excess of the minimum standards guaranteed by ERISA. Id. at *13.

                        The Company is Liable for Payment of the Claim,
                     and Powell has an Administrative Expense for the Claim

         48.     11 USC § 1114 (e) provides as follows:

                 (1) Notwithstanding any other provision of this title, the debtor in
                 possession, or the trustee if one has been appointed under the provisions of
                 this chapter (hereinafter in this section “trustee” shall include a debtor in
                 possession), shall timely pay and shall not modify any retiree benefits,
                 except that—
                 (A) the court, on motion of the trustee or authorized representative, and
                 after notice and a hearing, may order modification of such payments,
                 pursuant to the provisions of subsections (g) and (h) of this section, or
                 (B) the trustee and the authorized representative of the recipients of those
                 benefits may agree to modification of such payments,
                 after which such benefits as modified shall continue to be paid by the
                 trustee.
                 (2) Any payment for retiree benefits required to be made before a plan
                 confirmed under section 1129 of this title is effective has the status of an
                 allowed administrative expense as provided in section 503 of this title.


         49.     The Debtor has not proceeded properly to reduce Powell’s retiree benefits, and

 therefore the benefits cannot be reduced and Powell is entitled to an administrative expense

 claim for the amount of the benefits.

         50.     Moreover, the Company must reinstate any modifications made to Powell’s

 benefits in the 180 day period ending on the date of the petition date of June 1, 2009, and thus

 Powell is entitled to his full benefits.

         51.     § 1114 is applicable to require payment of Powell’s benefits.
09-50026-mg      Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18              Main Document
                                          Pg 19 of 20



        52.     The Company argues that § 1114 does not require payment of Powell’s benefits,

 but bases that argument on the erroneous assumption that the Company had the right to modify

 Mr. Powell’s retirement benefits, which is not the case, as discussed above. 4

        WHEREFORE, Powell requests that this Honorable Court enter an order allowing

 payment of his Claim, and allow his Claim as an administrative expense (Powell has filed and

 administrative claim based on the welfare benefits), and alternatively that the Court grant

 discovery and adjourn the hearing until a point when the parties can complete discovery, and for

 such other and further relief as the Court shall deem just and proper.




 Dated: September 19, 2011                                    POWELL MURPHY, PLLC
                                                              Counsel to T. Charles Powell

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                                                              Fax (248) 646-3380



                                                      Powell, TCharles-Barb\GM benefits\Response.9.19.11




 4
   Moreover, even if the Company had the right to modify Mr. Powell’s benefits -- which it did
 not -- § 1114 still applies and thus prevents and voids any purported modifications the Company
 has made. See IUE-CWA v. Visteon Corp. (In re Visteon Corp.), 612 F.3d 210 (3d cir. 2010)
 (section applies even when sponsor reserved the right to amend or terminate plan). Also see, In
 re Farmland Industries Inc., 294 B.R. 903 (Bankr.WD.MO.2003)
09-50026-mg     Doc 10895      Filed 09/19/11 Entered 09/19/11 16:24:18          Main Document
                                         Pg 20 of 20



                                       Index of Exhibits

 Exhibit #   Description


 A           Proposed Order
 B           Affidavit of T. Charles Powell
 C           Written statement and summary of welfare benefits provided to Mr. Powell at
             retirement
 D           Written statement by Debtor concerning the duration of the supplemental life benefit
 E           August 2, 1993 letter from Debtor confirming its prior promises and representations
             that the basic life insurance would remain in place throughout Mr. Powell’s life.
